     Case: 1:22-cv-02088 Document #: 32 Filed: 10/28/22 Page 1 of 5 PageID #:377




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

AMBITIOUS PRODUCTIONS, INC.,                   )
an Illinois Corporation,                       )
                                               )       Case No.: 22-cv-02088
                Plaintiff,                     )
                                               )       Judge: Matthew F. Kennelly
v.                                             )
                                               )
DVAPPS AB,                                     )
a Foreign Corporation,                         )
                                               )
                Defendant.                     )


                             PLAINTIFF’S RULE 56 (d) SUBMISSION

        Responsive to the Court’s Order of September 8, 2022 (Docket 25) stating “Plaintiff has

until 10/28/2022 to file a submission under Rule 56(d)” Plaintiff responds that discovery is

needed to:

     (1) illuminate issues of origin, authorship and authenticity regarding hearsay submissions

        including, but not limited to, Defendant’s Exhibits D, E, F, G, H, I, J, K, L, M, N, O and

        P;

     (2) in addition to the above, define the parameters used in creation of the recorded Exhibits

        D-1, D-2, D-3 and D-4 each being identified as “a playthrough” without further

        explanation of fundamentals such as, but not limited to: who recorded each; what

        equipment and software was used and how an interactive game came to be recorded in

        the fixed forms offered;

     (3) determine documents, things and facts that relate to the facts and conclusions asserted in

        the Vukanovic Declaration (Exhibit C) and explore how they impact the truth or falsity of

        the assertions therein.


                                                   1
    Case: 1:22-cv-02088 Document #: 32 Filed: 10/28/22 Page 2 of 5 PageID #:378




       (1) Internet Derived Exhibits Require Discovery or Other Establishment of

           Authenticity Before Consideration

       The Motion, Memorandum and supporting papers urge a decision as a matter of law can

be made based on hearsay. Even Defendant’s indicia of what is “in” the accused works are

based on out of court statements – recordings purporting to have somehow been generated by an

interactive game. Defendant’s excuse for similarity in significant graphic and “movement”

between the works is that other similarities can be explained based on themes and ideas in third

party works, the evidentiary support for which comes from the Internet.

       Unlike historic materials which may be subject to judicial notice – a print encyclopedia

has huge barriers to entry in publishing and huge consequences if a publisher loses its reputation

for telling the truth – in many places on the Internet, anyone can make anything up and

“publish”. Exhibits F, G, J, K and L are printouts on particular days from Wikipedia, whose

variability is known (Strojnik v. Azul Hospitality Group 2019 WL 6467494 (E.D. Cal., 2019)

“Because YouTube, like Wikipedia, allows virtually anyone to upload a video, the video itself

lacks requisite evidence about its authenticity, authorship, and veracity.”) Indeed, even Defense

Exhibit B has aspects that may require exploration and supplementation – the resolution in the

version presently viewed after downloading out of the court’s system may be different than may

be typical. The cause may be technical, but is, in any event, appropriate for verification. With

none of the exhibits are there separate indicia of truth or authenticity like two simple graphic

symbols that were also consistently well known to the public. Games Workshop Ltd. v.

Chapterhouse Studios, LLC 2012 WL 5949105 (N.D. Ill, 2012).




                                                 2
    Case: 1:22-cv-02088 Document #: 32 Filed: 10/28/22 Page 3 of 5 PageID #:379




       (2) It Is Necessary To Explore Parameters Used to Present the “Live” Audiovisual

           Appearance Which Was Recorded and Presented in Playthroughs


       Viewing the “playthoughs” Exhibits D-1, D-2, D-3 and D-4 displays the audiovisual

“action” and also graphic symbols such as a filled white circle moving relative to an open white

circle. This presumably is a graphic indication of input from a game control apparatus such as a

game controller joystick or other directional input device, which input presumably is “read” by

the game system itself and results in an apparent change in “direction” of the player in the game

itself. Essentially, one expects that a game controller “moving” “right” will result in a different

display than the game controller “moving” “left.” Presumably, speed of movement may also be

affected. Since the points of similarity are the appearance and “movement” of the game’s

Granny character, if one knew why movement was left or right, one might have better

information on how and where the Granny character appears and presumably, what happens in

the game. If what happens – similar audiovisual appearance and movement -- is similar to

Plaintiff’s movie, there is infringement, but if the game operator who created the exhibits

“moved” the player with the game control to avoid infringement, Plaintiff is entitled to know.

Discovery is needed.

       (3) Conclusory Statements and Corroboration of Statements Require Discovery

       Mr. Vukanovic’s declaration is remarkably short. For a hugely successful video game

with millions of downloads claimed by Defendant’s advertising on some platforms (Exhibit A, ¶

15) and at least three versions published, and a claim that the creation was based upon an earlier,

2013 game of Mr. Vukanovic -- not based on Plaintiff’s movie -- the record is remarkably devoid

of documentation consistent with a nearly nine year creative process. The process used to create

the substantially similar game needs to be explored in discovery.

                                                 3
    Case: 1:22-cv-02088 Document #: 32 Filed: 10/28/22 Page 4 of 5 PageID #:380




                                          CONCLUSION

       The present record is insufficient for Plaintiff to respond at this time. Discovery may

reasonably be expected to illuminate issues of where the purported documentary evidence came

from, what it contains, and how it was created. Discovery tools are needed to be used to

determine authenticity and reliability. The ability of Plaintiff to respond is limited for the

reasons described above, the statements made herein based on my own knowledge are true and

those made on information and belief are believed to be true.

                                         DECLARATION

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

October 28, 2022.

                                                   Respectfully submitted,

                                                   /David C Brezina/

                                                   David C. Brezina
 Date: October 28, 2022

 David C. Brezina
 Burton S. Ehrlich
 Ladas & Parry LLP
 224 South Michigan Avenue
 Suite 1600
 Chicago, Illinois 60604
 312 427-1300
 312 408-2532 (direct)




                                                  4
    Case: 1:22-cv-02088 Document #: 32 Filed: 10/28/22 Page 5 of 5 PageID #:381




                                 CERTIFICATE OF SERVICE


        I hereby certify that I shall, this 28th day of October, 2022, electronically file the
foregoing Motion with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to counsel of record, believed to comprise the following:
       Hassan Elrakabawy
       Steven Douglas Smelser
       Yukevich Cavanaugh
       355 S. Grand Ave.
       15th Floor
       Los Angeles, CA 90071

       Mark Andrew Borsos
       Joseph T. Nabor
       Fitch, Even, Tabin & Flannery
       120 South LaSalle St.
       Suite 1600
       Chicago, IL 60603-3406


Date: October 28, 2022                                 /David C. Brezina/

                                                       David C. Brezina




                                                  5
